               Case:18-00467-swd         Doc #:22 Filed: 03/16/18        Page 1 of 2



                                 UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

In Re:                                                            Case No. 18-00467-swd
KING ROBERTSON, JR.,                                              Chapter 13

                    Debtor(s).                                    Honorable Scott W. Dales
                                                     /



                  NOTICE OF STATE OF MICHIGAN UNFILED TAX RETURNS


     Debtor(s) has failed to file a tax return for Individual Income taxes for tax period(s) 2013-

2016 as required by 11 USC 1308. Failure to file tax returns may result in the Michigan

Department of Treasury either objecting to the Debtor's Plan or filing a Motion to either

Convert or Dismiss the case.


I.   IF YOU ARE REQUIRED TO FILE:

      Signed tax returns should be submitted to:

                                   Michigan Department of Attorney General
                                       Revenue & Collections Division
                                              P.O. Box 30754
                                             Lansing, MI 48909
                                           Attn: Michael S. Hill

      Attach any required copies of Federal Schedules, 1099's, and W-2's. If you have

      already filed the required return(s), submit a copy to the above-listed address. For

      questions, call (517) 373-3203.




                                                      1
                Case:18-00467-swd         Doc #:22 Filed: 03/16/18         Page 2 of 2




II. IF YOU BELIEVE YOU ARE NOT REQUIRED TO FILE

          Submit an AFFIDAVIT, signed under penalty of perjury, notarized and dated, stating

       the reasons why you are not required to file the returns. In the Affidavit, list income

       from all sources, both taxable and non-taxable, for each year. If you were required to

       file a federal tax return, submit a copy of your federal return with the Affidavit. Send

       the information to the above-listed address.


III.      IF YOU NEED ADDITIONAL INFORMATION TO FILE YOUR RETURNS

                                   W-2 or 1099--Contact your EMPLOYER(S)

                IF NOT RECEIVED, CONTACT THE IRS AT 313-237-0800 or 800-829-1040

                                          IRS WEBSITE: www.irs.gov




                                                           Respectfully submitted,

                                                           BILL SCHUETTE
                                                           Attorney General


                                                        /s/ Michael S. Hill
                                                        Michael S. Hill (P73084)
                                                        Assistant Attorney General
                                                        P.O. Box 30754
                                                        Lansing, MI 48909
                                                        Telephone: (517) 373-3203
                                                        E-mail: hillm19@michigan.gov
Dated: March 16, 2018




                                                       2
